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                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                   Case No.: 17-cv-60426-UU


   ALEKSEJ GUBAREV, XBT HOLDING S.A.,
   AND WEBZILLA, INC.

         Plaintiffs,

   vs.

   BUZZFEED, INC. AND BEN SMITH,

     Defendants.

                                                          /


            [PROPOSED] ORDER GRANTING DEFENDANTS’ UNOPPOSED MOTION
              FOR EXTENSION OF TIME TO FILE OPPOSITION TO PLAINTIFFS’
                 MOTION FOR PARTIAL JUDGMENT ON THE PLEADINGS

              THIS MATTER is before the Court upon Defendants’ Motion for Extension of Time

   (the “Motion”). Based upon a review of the record as a whole and being otherwise fully advised

   in the premises, it is hereby

             ORDERED AND ADJUDGED that Defendants’ Motion is GRANTED. Defendants

   shall file their Opposition to Plaintiffs’ Motion for Partial Judgment on the Pleadings on or

   before February 9, 2018, and Plaintiffs shall file their Reply on or before February 19, 2018.

             DONE AND ORDERED in Chambers, at Miami, Florida this ____ day of January,

   2018.

                                                ____________________________________
                                                URSULA UNGARO
                                                UNITED STATES DISTRICT JUDGE

   Copies furnished to:

   John J. O’Sullivan, United States Magistrate Judge
   Counsel of Record
